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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                 LAFAYETTE DIVISION

   ANTOINE RICHARD, ET. AL                           CIVIL NO. 15-2557

   VERSUS                                            JUDGE S. MAURICE HICKS, JR.

   FLOWERS FOODS, INC., ET. AL                       MAGISTRATE JUDGE WHITEHURST

                                             ORDER

          Considering Plaintiffs’ Unopposed Motion to Amend Judgment and to Set

   Deadline (Record Document 435):

          IT IS ORDERED that Plaintiffs’ Motion is GRANTED. An amended memorandum

   order shall issue herewith.

          IT IS FURTHER ORDERED that Plaintiffs’ Motion to Set Deadline is GRANTED.

   Plaintiffs shall file within 30 days from the entry of this Order any Motion to Designate for

   Immediate Appeal under 28 U.S.C. 1292(b).

          THUS DONE AND SIGNED in Shreveport, Louisiana, this 13th day of July, 2021.
